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                           Exhibit 29
XBT Holding Ltd. Acquires 1-800 HOSTING, Inc.                  http://www.marketwired.com/printer_friendly?id=1724402
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XBT Holding Ltd. Acquires 1-800 HOSTING, Inc.                  http://www.marketwired.com/printer_friendly?id=1724402
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